                         Case 3:17-cv-00939-WHA Document 2532 Filed 01/26/18 Page 1 of 4



                   1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                        Charles K. Verhoeven (Bar No. 170151)
                    charlesverhoeven@quinnemanuel.com
                        David A. Perlson (Bar No. 209502)
                    davidperlson@quinnemanuel.com
                        Melissa Baily (Bar No. 237649)
                    melissabaily@quinnemanuel.com
                        John Neukom (Bar No. 275887)
                    johnneukom@quinnemanuel.com
                        Jordan Jaffe (Bar No. 254886)
                    jordanjaffe@quinnemanuel.com
                      50 California Street, 22nd Floor
                    San Francisco, California 94111-4788
                      Telephone:     (415) 875-6600
                    Facsimile:     (415) 875-6700

                    Attorneys for WAYMO LLC
                                                 UNITED STATES DISTRICT COURT

                                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                  WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

                                   Plaintiff,                  PLAINTIFF WAYMO LLC’S
                                                                  ADMINISTRATIVE MOTION TO FILE
                          vs.                                  UNDER SEAL ITS OFFER OF PROOF
                                                                  REGARDING ADMISSIBILITY OF
                  UBER TECHNOLOGIES, INC.;                     CERTAIN MARKET AND FINANCIAL
                     OTTOMOTTO LLC; OTTO TRUCKING                 INFORMATION
                  LLC,

                                   Defendants.

                 

                 
                 

                 

                 

                 

                 

                 

                 
                 

                 

01980-00104/9572432.1                                                             CASE NO. 3:17-cv-00939-WHA
                                                                         WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                        Case 3:17-cv-00939-WHA Document 2532 Filed 01/26/18 Page 2 of 4



                  1          Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully

                  2 requests to file under seal portions of exhibits to its Offer of Proof Regarding Admissibility of

                  3 Certain Market and Financial Information. (“Waymo’s Offer of Proof”). Specifically, Waymo

                  4 requests an order granting leave to file under seal the portions of the documents as listed below:

                  5                       Document                 Portions to Be Filed     Designating Party
                                                                        Under Seal
                  6           Waymo’s Offer of Proof               Highlighted in blue  Defendants
                  7                                                Highlighted in green Waymo
                              Exhibit 1 to Waymo’s Offer of        Entire document      Defendants
                  8           Proof
                              Exhibit 2 to Waymo’s Offer of        Entire document         Waymo
                  9           Proof
                              Exhibit 3 to Waymo’s Offer of        Entire document         Waymo
                 10
                              Proof
                 11           Exhibit 4 to Waymo’s Offer of        Entire document         Defendants
                              Proof
                 12           Exhibit 5 to Waymo’s Offer of        Entire document         Defendants
                              Proof
                 13           Exhibit 6 to Waymo’s Offer of        Entire document         Defendants
                 14           Proof
                              Exhibit 7 to Waymo’s Offer of        Entire document         Defendants
                 15           Proof
                              Exhibit 8 to Waymo’s Offer of        Entire document         Defendants
                 16           Proof
                              Exhibit 9 to Waymo’s Offer of        Entire document         Defendants
                 17
                              Proof
                 18           Exhibit 10 to Waymo’s Offer of       Entire document         Defendants
                              Proof
                 19           Exhibit 11 to Waymo’s Offer of       Entire document         Defendants
                              Proof
                 20           Exhibit 12 to Waymo’s Offer of       Entire document         Waymo
                 21           Proof
                              Exhibit 13 to Waymo’s Offer of       Entire document         Defendants
                 22           Proof
                              Exhibit 14 to Waymo’s Offer of       Entire document         Defendants
                 23           Proof
                 24           Exhibit 15 to Waymo’s Offer of       Entire document         Defendants
                              Proof
                 25           Exhibit 16 to Waymo’s Offer of       Entire document         Defendants
                              Proof
                 26           Exhibit 17 to Waymo’s Offer of       Entire document         Defendants
                              Proof
                 27
                              Exhibit 18 to Waymo’s Offer of       Entire document         Defendants
                 28           Proof

01980-00104/9572432.1                                                                       CASE NO. 3:17-cv-00939-WHA
                                                                      -2-
                                                                                  WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                             Case 3:17-cv-00939-WHA Document 2532 Filed 01/26/18 Page 3 of 4



                  1               Exhibit 19 to Waymo’s Offer of       Entire document          Defendants
                                  Proof
                  2
                        I.       LEGAL STANDARD
                  3
                                 Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
                  4
                        portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under
                  5
                        the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored
                  6
                        to seek sealing only of sealable material.” Id. In the context of non-dispositive motions, materials
                  7
                        may be sealed so long as the party seeking sealing makes a “particularized showing” under the “good
                  8
                        cause” standard of Federal Rule of Civil Procedure 26(c). Kamakana v. City & Cnty. of Honolulu,
                  9
                        447 F.3d 1172, 1180 (9th Cir. 2006) (quoting Foltz v. State Farm Mutual Auto Insurance Co., 331
                 10
                        F.3d 1122, 1135, 1138 (9th Cir. 2003)).
                 11

                 12 II.          DEFENDANTS’ CONFIDENTIAL INFORMATION
                 13              Waymo seeks to seal identified portions of these documents because Defendants have
                 14 designated the information confidential and/or highly confidential. Declaration of Lindsay Cooper

                 15 (“Cooper Decl.”) ¶ 3. Waymo takes no position on the merits of sealing the designated material,

                 16 and expects Defendants to file one or more declarations in accordance with the Local Rules.

                 17
                        III.     THE COURT SHOULD SEAL WAYMO’S CONFIDENTIAL INFORMATION
                 18
                                 The Court should seal the portions of Waymo’s Offer of Proof and attached Exhibits as
                 19
                        identified by Waymo in the table above. Waymo seeks to file this information under seal because it
                 20
                        discloses Waymo’s confidential business information, including descriptions of internal Waymo
                 21
                        documents discussing Waymo’s market and competitive analyses, plans, forecasts, and financial
                 22
                        information. See Cooper Decl. ¶ 4. Confidential business information that, if released, may “harm a
                 23
                        litigant’s competitive standing,” merits sealing. See Nixon v. Warner Commc’ns, Inc., 435 U.S. 589,
                 24
                        598-99 (1978). Waymo seeks to seal confidential business information that fits squarely within this
                 25
                        category because it contains Waymo’s future plans with respect to commercializing its business,
                 26
                        including launch dates and launch locations; Waymo’s internal strategic analysis of the TaaS market
                 27
                        and how to enter it; Waymo’s analysis of the potential future revenue and profits associated with
                 28

01980-00104/9572432.1                                                                            CASE NO. 3:17-cv-00939-WHA
                                                                          -3-
                                                                                       WAYMO’S ADMINISTRATIVE MOTION TO SEAL
                        Case 3:17-cv-00939-WHA Document 2532 Filed 01/26/18 Page 4 of 4



                  1 various business plans; and strategic ways to deal with competitors in the market, including Uber and

                  2 others. Cooper Decl. ¶ 4. The disclosure of Waymo’s confidential business information would harm

                  3 Waymo. Cooper Decl. ¶ 4. Waymo has narrowly tailored its requests to only information meriting

                  4 sealing. Id. Moreover, the scope of information that Waymo is seeking to seal is consistent with other

                  5 administrative motions to seal that have already been granted by the Court in this case. (See e.g. Dkt.

                  6 1048.) Thus, the Court should grant Waymo’s administrative motion to seal.

                  7 IV.      CONCLUSION
                  8          In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the

                  9 above listed documents accompany this Administrative Motion. For the foregoing reasons,

                 10 Waymo respectfully requests that the Court grant Waymo’s administrative motion to file under

                 11 seal.

                 12

                 13 DATED: January 26, 2018                      QUINN EMANUEL URQUHART & SULLIVAN,
                                                                 LLP
                 14
                                                                   By /s/ Charles Verhoeven
                 15
                                                                      Charles Verhoeven
                 16                                                   Attorneys for WAYMO LLC

                 17

                 18
                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26
                 27

                 28

01980-00104/9572432.1                                                                        CASE NO. 3:17-cv-00939-WHA
                                                                      -4-
                                                                                   WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2532-1 Filed 01/26/18 Page 1 of 3



 1

 

 

 

 

 

 

 
                                 UNITED STATES DISTRICT COURT
 
                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA
                                                 [PROPOSED] ORDER GRANTING
                    Plaintiff,                      PLAINTIFF WAYMO LLC’S
                                                 ADMINISTRATIVE MOTION TO FILE
           vs.                                      UNDER SEAL ITS OFFER OF PROOF
                                                 REGARDING ADMISSIBILITY OF
    UBER TECHNOLOGIES, INC.;                        CERTAIN MARKET AND FINANCIAL
 OTTOMOTTO LLC; OTTO TRUCKING                    INFORMATION
    LLC,

              Defendants.
























                                                                       CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-1 Filed 01/26/18 Page 2 of 3



 1         Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 (“Waymo’s Administrative Motion”) certain information in its Offer of Proof Regarding

 3 Admissibility of Certain Market and Financial Information (“Waymo’s Offer”).

 4         Having considered Waymo’s Administrative Motion, and good cause to seal having been

 5 shown, the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the

 6 documents listed below:

 7                              Document                Portions to Be Filed
                                                             Under Seal
 8                   Waymo’s Offer of Proof             Highlighted in blue
 9                                                      Highlighted in green
                     Exhibit 1 to Waymo’s Offer of      Entire document
10                   Proof
                     Exhibit 2 to Waymo’s Offer of      Entire document
11                   Proof
                     Exhibit 3 to Waymo’s Offer of      Entire document
12
                     Proof
13                   Exhibit 4 to Waymo’s Offer of      Entire document
                     Proof
14                   Exhibit 5 to Waymo’s Offer of      Entire document
                     Proof
15                   Exhibit 6 to Waymo’s Offer of      Entire document
16                   Proof
                     Exhibit 7 to Waymo’s Offer of      Entire document
17                   Proof
                     Exhibit 8 to Waymo’s Offer of      Entire document
18                   Proof
                     Exhibit 9 to Waymo’s Offer of      Entire document
19
                     Proof
20                   Exhibit 10 to Waymo’s Offer of     Entire document
                     Proof
21                   Exhibit 11 to Waymo’s Offer of     Entire document
                     Proof
22                   Exhibit 12 to Waymo’s Offer of     Entire document
23                   Proof
                     Exhibit 13 to Waymo’s Offer of     Entire document
24                   Proof
                     Exhibit 14 to Waymo’s Offer of     Entire document
25                   Proof
26                   Exhibit 15 to Waymo’s Offer of     Entire document
                     Proof
27                   Exhibit 16 to Waymo’s Offer of     Entire document
                     Proof
28                   Exhibit 17 to Waymo’s Offer of     Entire document

                                                  -2-                   CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-1 Filed 01/26/18 Page 3 of 3



 1                 Proof
                   Exhibit 18 to Waymo’s Offer of    Entire document
 2                 Proof
 3                 Exhibit 19 to Waymo’s Offer of    Entire document
                   Proof
 4

 5        IT IS SO ORDERED.

 6 Dated: ______________, 2018

 7                                     HON. WILLIAM ALSUP
                                       United States District Court Judge
 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                               -3-                   CASE NO. 3:17-cv-00939-WHA
                                 [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2532-2 Filed 01/26/18 Page 1 of 4



 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
      Charles K. Verhoeven (Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
      David A. Perlson (Bar No. 209502)
  davidperlson@quinnemanuel.com
      Melissa Baily (Bar No. 237649)
  melissabaily@quinnemanuel.com
      John Neukom (Bar No. 275887)
  johnneukom@quinnemanuel.com
      Lindsay Cooper (Bar No. 254886)
    jordanjaffe@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111-4788
    Telephone:     (415) 875-6600
  Facsimile:     (415) 875-6700

  Attorneys for WAYMO LLC
                               UNITED STATES DISTRICT COURT

              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                      CASE NO. 3:17-cv-00939-WHA

                 Plaintiff,
                                                    DECLARATION OF LINDSAY COOPER
        vs.                                      IN SUPPORT OF PLAINTIFF WAYMO
                                                    LLC’S ADMINISTRATIVE MOTION TO
 UBER TECHNOLOGIES, INC.;                        FILE UNDER SEAL ITS OFFER OF
    OTTOMOTTO LLC; OTTO TRUCKING                    PROOF REGARDING ADMISSIBILITY
 LLC,                                            OF CERTAIN MARKET AND
                                                    FINANCIAL INFORMATION
                 Defendants.





















                                                                       CASE NO. 3:17-cv-00939-WHA
                                       COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-2 Filed 01/26/18 Page 2 of 4



 1 I, Lindsay Cooper, declare as follows:

 2          1.     I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.     I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal its Offer of Proof Regarding Admissibility of Certain Market and Financial Information.

 8 (“Waymo’s Administrative Motion”). Waymo’s Administrative Motion seeks an order sealing the

 9 following materials:

10                        Document                Portions to Be Filed     Designating Party
                                                       Under Seal
11           Waymo’s Offer of Proof               Highlighted in blue  Defendants
12                                                Highlighted in green Waymo
             Exhibit 1 to Waymo’s Offer of        Entire document      Defendants
13           Proof
             Exhibit 2 to Waymo’s Offer of        Entire document         Waymo
14           Proof
             Exhibit 3 to Waymo’s Offer of        Entire document         Waymo
15
             Proof
16           Exhibit 4 to Waymo’s Offer of        Entire document         Defendants
             Proof
17           Exhibit 5 to Waymo’s Offer of        Entire document         Defendants
             Proof
18           Exhibit 6 to Waymo’s Offer of        Entire document         Defendants
19           Proof
             Exhibit 7 to Waymo’s Offer of        Entire document         Defendants
20           Proof
             Exhibit 8 to Waymo’s Offer of        Entire document         Defendants
21           Proof
             Exhibit 9 to Waymo’s Offer of        Entire document         Defendants
22
             Proof
23           Exhibit 10 to Waymo’s Offer of       Entire document         Defendants
             Proof
24           Exhibit 11 to Waymo’s Offer of       Entire document         Defendants
             Proof
25           Exhibit 12 to Waymo’s Offer of       Entire document         Waymo
26           Proof
             Exhibit 13 to Waymo’s Offer of       Entire document         Defendants
27           Proof
             Exhibit 14 to Waymo’s Offer of       Entire document         Defendants
28

                                                    -2-                    CASE NO. 3:17-cv-00939-WHA
                                          COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-2 Filed 01/26/18 Page 3 of 4



 1           Proof
             Exhibit 15 to Waymo’s Offer of        Entire document          Defendants
 2           Proof
 3           Exhibit 16 to Waymo’s Offer of        Entire document          Defendants
             Proof
 4           Exhibit 17 to Waymo’s Offer of        Entire document          Defendants
             Proof
 5           Exhibit 18 to Waymo’s Offer of        Entire document          Defendants
             Proof
 6
             Exhibit 19 to Waymo’s Offer of        Entire document          Defendants
 7           Proof

 8
            3.      Waymo’s Offer of Proof and attached exhibits contain information that Defendants
 9
     have designated as confidential and/or highly confidential.
10
            4.      Portions of Waymo’s Offer of Proof and attached exhibits contain, discuss, or refer to
11
     Waymo’s confidential business information, including internal Waymo documents describing its
12
     market analyses, plans, forecasts, and financial information. Specifically, portions of Waymo’s Offer
13
     of Proof and attached exhibits describe documents that Waymo has produced in this litigation,
14
     designated as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY under the protective order,
15
     that refer to Waymo’s future plans with respect to commercializing its business, including launch
16
     dates and launch locations; Waymo’s internal strategic analysis of the TaaS market and how to enter
17
     it; Waymo’s analysis of the potential future revenue and profits associated with various business
18
     plans; and strategic ways to deal with competitors in the market, including Uber and others. Public
19
     disclosure of this information to Waymo’s competitors would harm Waymo by giving its competitors
20
     access to Waymo’s highly confidential internal business thinking. If such information were made
21
     public, I understand that Waymo’s competitive standing would be significantly harmed. Waymo’s
22
     request to seal is narrowly tailored to only the confidential information.
23

24

25

26
27

28

                                                     -3-                    CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-2 Filed 01/26/18 Page 4 of 4



 1

 2          I declare under penalty of perjury under the laws of the State of California that the foregoing is

 3 true and correct, and that this declaration was executed in San Francisco, California, on January 26,

 4 2018.

 5                                                  By /s/ Lindsay Cooper
                                                       Lindsay Cooper
 6                                                     Attorneys for WAYMO LLC
 7

 8                                     SIGNATURE ATTESTATION

 9          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

10 filing of this document has been obtained from Lindsay Cooper.

11
                                                   /s/ Charles K. Verhoeven
12                                                   Charles K. Verhoeven
13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                     -4-                    CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 1 of 11



 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
 5   jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 6 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 7 Facsimile:     (415) 875-6700

 8 Attorneys for WAYMO LLC
 9                              UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA

11                                  SAN FRANCISCO DIVISION

12 WAYMO LLC,                                       CASE NO. 3:17-cv-00939

13              Plaintiff,                          PLAINTIFF WAYMO LLC’S OFFER OF
                                                    PROOF REGARDING ADMISSIBILITY
14        vs.                                       OF CERTAIN MARKET AND
                                                    FINANCIAL INFORMATION
15 UBER TECHNOLOGIES, INC.;
   OTTOMOTTO LLC; OTTO TRUCKING                     PUBLIC REDACTED VERSION OF
16 LLC,                                             DOCUMENT SOUGHT TO BE SEALED
17              Defendants.
                                                    Trial Date: December 4, 2017
18
19

20
21
22
23
24
25
26
27
28


                              WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 2 of 11



 1                                                  TABLE OF CONTENTS
 2
     I.    INTRODUCTION ..................................................................................................................2
 3
     II.   OFFER OF PROOF ...............................................................................................................3
 4
           A.        At the time of the misappropriation, Waymo believed that the first player to
 5                   commercialize self-driving cars was likely to capture all or most of the
                     TaaS market. ...............................................................................................................4
 6
           B.        At the time of the misappropriation, Uber also believed that it needed to be
 7                   among the first to commercialize self-driving technology and that it needed
                     to accelerate its development efforts. .........................................................................5
 8
           C.        Both Waymo And Uber Perceived That They Were Competing For All Or
 9                   Most Of A Significant Market And That Perception Influenced Their
                     Behavior .....................................................................................................................6
10
           D.        Uber understood that accelerating its LiDAR development would accelerate
11                   its overall self-driving timeline. .................................................................................7
12 III.    THE PROFFERED TESTIMONY AND EVIDENCE SHOULD BE ADMITTED ............7
13         A.        Evidence Of The Perceived Size Of The Market Opportunity For Self-
                     Driving Is Admissible To Prove Uber’s Motive For Misappropriating
14                   Waymo’s Trade Secrets .............................................................................................7
15         B.        Evidence Of The Perceived Size Of The Market Opportunity For Self-
                     Driving And Evidence Of Waymo’s Revenue And Profit Forecasts Are
16                   Admissible To Establish Trade Secret Status ............................................................8
17         C.        Evidence Of The Perceived Size Of The Market Opportunity For Self-
                     Driving And Evidence Of Waymo’s Revenue And Profit Forecasts Are
18                   Admissible As Factors That Would Significantly Impact The Hypothetical
                     Negotiation .................................................................................................................9
19
     IV.   CONCLUSION ......................................................................................................................9
20
21
22
23
24
25
26
27
28

                                                                      -1-
                                       WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 3 of 11



 1 I.       INTRODUCTION
 2          Waymo submits this offer of proof in advance of (i) eliciting testimony from Uber and
 3 Waymo trial witnesses regarding the perceived size of the potential market for autonomous
 4 vehicles at the time of the misappropriation, and (ii) introducing into evidence the revenue and
 5 profit forecasts contained in Waymo’s baseline profit and loss statemen.1
 6          Evidence of the perceived size of the potential market for autonomous vehicles is relevant
 7 to this case by Uber’s and Ottomotto’s own admission. For purposes of this case, Uber and
 8 Ottomotto (collectively, “Uber”) retained a Ph.D. economist (Dr. Michael Jacobs) as an expert on
 9 mergers and acquisitions (M&A) issues to testify about Uber's acquisition of Ottomotto. In setting
10 out his opinions, Dr. Jacobs recounted various “[f]orecasts of the autonomous vehicle business,”
11 including a May 2014 estimate of $87 billion by 2030, an April 2015 estimate of $102 billion by
12 2030, a January 2016 estimate of $1.5 trillion by 2040, a July 2016 estimate of $41.7 billion by
13 2025, and a March 2017 estimate of $22 to $26 billion by 2025. (Ex. 1 [Jacobs Report], ¶ 27.) He
14 concluded that “the perceived size of the potential market has grown over time” and that this “has
15 several implications for transaction economics in the 2016 time frame.” (Id. ¶¶ 27, 29.) He went
16 on to explain that these “substantial forecasts” – along with the fact that “strategic
17 players…needed to have development done” and the fact that there was “a small group of
18 experienced engineers” – “created the economics that we see in the transactions in the
19 [autonomous vehicle] marketplace.” (Id. ¶ 29.) Uber’s expert says that these “economics” explain
20 why Uber placed such a high value on Ottomotto – which had been in existence for less than two
21 months when the term sheet was signed) – in early 2016. The very same economics explain why
22 Uber would place a high value on a trade secret license in a hypothetical negotiation with Waymo
23 in the very same time frame. This is especially true where, as here, Uber executives were
24 convinced that Uber could not survive if it was not among the first to commercialize self-driving
25
26
        1
         Waymo intends to introduce at trial some portions of its baseline P&L statement –
27 including, for example, those portions that reflect Waymo’s launch and scaling plans – through
   normal procedures. The instant offer of proof is provided solely with respect to the admission of
28 Waymo’s future revenue and profit forecasts, which are also contained in the same baseline P&L.
   (Ex. 19.)
                                                      -2-
                                WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 4 of 11



 1 technology in TaaS (transportation as a service) and where, as here, the trade secrets to be licensed

 2 relate to LiDAR technology, which Uber believed to be the                    of its own lagging
 3 development efforts.

 4          The revenue and profit forecasts contained in Waymo’s baseline profit and loss statement
 5 are also relevant to the hypothetical negotiation. In his analysis of “transaction economics in the

 6 2016 time frame” to justify the high value Uber placed on Ottomotto (id. ¶ 29), Uber’s and

 7 Ottomotto’s own expert thought it important that “Morgan Stanley has estimated that Waymo is

 8 currently worth $70 billion just based on its intention to use its driverless cars to obtain a fraction

 9 of the ride marketplace” (id. ¶ 27). Though Waymo does not seek to rely on Morgan Stanley’s

10 valuation, it should be permitted to rely on its own forecasts                                       (Ex.
11 19 [TX-4980]) as evidence of the “economics” that would similarly impact a negotiation between

12 Uber and Waymo for a trade secret license. Like Uber, Waymo viewed the autonomous vehicle

13 market as “winner take all” or “winner take most.” (Ex. 2 [TX-1031]; Ex. 3 [TX-1033].) Thus all

14 or most of Waymo’s forecasted profits were viewed as contingent on Waymo using its technical

15 lead to become the first and best at offering self-driving TaaS. Waymo’s projections – and the

16 effect a shrinking technical lead would have on those projections – would have been front and

17 center for Waymo at any hypothetical negotiation with a competitor like Uber for a license to

18 Waymo trade secrets. And again, this is especially true where, as here, the trade secrets to be

19 licensed relate to the very area of technology that Uber believed to be the                of its
20 development efforts and thus most likely to impact Uber’s overall self-driving timeline.

21 II.      OFFER OF PROOF
22          By 2016, both Uber and Waymo believed that ride-sharing fleets would become
23                       in our lifetimes, making the commercialization of self-driving technology a
24 massive market opportunity. Both Uber and Waymo also believed that time-to-market was of

25 critical importance because the market opportunity was likely to be winner-take-all or winner-

26 take-most. Waymo believed that its ability to capitalize on this opportunity hinged in large part on

27 its technical lead and its resulting ability to enter the market first and as long before the next

28 entrant as possible. Indeed, this drove Waymo’s projections of market share and revenues.

                                                      -3-
                                 WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 5 of 11



 1 Similarly, Uber believed that Waymo’s technical lead was an existential threat and that it had to

 2 close the gap with Waymo or risk losing its large share of the TaaS market. For the same reasons
 3 that Uber has contended that the huge amount of money in play – as evidenced by various
 4 valuations of overall market potential and of Waymo – explains why Uber highly valued a two-
 5 month old company like Ottomotto, the same evidence would have an effect on a negotiation
 6 between competitors for a license to LiDAR-related trade secrets.
 7          A.     At the time of the misappropriation, Waymo believed that the first player to
                   commercialize self-driving cars was likely to capture all or most of the TaaS
 8                 market.
 9          1)     The evidence at trial will show that Waymo was the first to heavily invest in the
10 development of self-driving technology and that Waymo was the first to understand that the
11 technology could be safely commercialized in the near term rather than decades from now. And,
12 from a business perspective, Waymo has always understood that its technical lead would be key to
13 its success in whatever market(s) it chose to enter.
14          2)     By 2016, Waymo had decided that its business strategy should prioritize
15 commercialization of self-driving technology for TaaS (over other applications like trucking or
16 personal car ownership). Waymo understood the potential size of the autonomous TaaS market.
17 And Waymo understood that its technical lead would drive its success in that market, especially
18 vis-à-vis established manned TaaS players like Uber.
19          3)     Waymo will introduce evidence to show that, by 2016, it was operating under the
20 premise that the first company to achieve self-driving TaaS at scale was likely to win a majority of
21 the market in any given region. (Ex. 2 [TX-1031] (noting that a “single player (in any region) will
22 likely earn majority of profits in TaaS”); Ex. 3 [TX-1033] (discussing assumption that AV-based
23 TaaS market is “most likely a winner take most”).
24          4)     The evidence at trial will also show that, as of 2016, Waymo believed that it had a
25 two to five year technical advantage over its self-driving competitors. Waymo believed this lead
26 would allow Waymo to launch and scale a self-driving TaaS service before another competitor
27 with an existing TaaS service (like Uber) could develop self-driving technology and deploy it
28 within its existing network. (See Ex. 3 [TX-1033] (discussing Waymo’s technology lead and

                                                    -4-
                                WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 6 of 11



 1 various strategy implications depending on the size of Waymo’s lead).) Indeed, the evidence will

 2 show that Waymo’s emphasis on obtaining as much of a lead as possible – while ensuring safety

 3 and operating within other constraints – had come to inform nearly every aspect of its business

 4 plan by 2016.

 5         B.      At the time of the misappropriation, Uber also believed that it needed to be
                   among the first to commercialize self-driving technology and that it needed to
 6                 accelerate its development efforts.
 7         5)      The evidence at trial will show that, by 2016, Travis Kalanick, Uber’s then-CEO,

 8 had become convinced that being among the first to commercialize self-driving for TaaS was

 9 “existential” for Uber. Mr. Kalanick has stated that: “

10                                                 .” (Ex. 4 [TX-387].) Mr. Kalanick has stated that
11 succeeding in self-driving is                    ” and
12                                  (Ex. 5 [TX-5472].)
13         6)      The evidence at trial will show that this view permeated Uber. For example, in an
14 email regarding “                      ” and noting a                          Jeff Holden –
15 Uber’s Chief Product Officer – stated:

16 (Ex. 6 [TX-4481].) John Bares, former director of Uber’s ATG program in Pittsburgh, has also

17 agreed that                                                               (Ex. 7 [Bares 6/16/27
18 Depo. Tr.] at 122:14-16.)

19         7)      The evidence at trial will show that Uber understood it was lagging behind Waymo
20 in the development of self-driving technology and that it needed to close the gap. Mr. Kalanick

21 has said:

22

23

24                                 (Ex. 8 [TX-291].) Cameron Poetzscher, Uber’s Vice President of
25 Corporate Development, has explained:

26

27                                                                                         (Ex. 9
28 [Poetzscher 8/11/17 Depo. Tr.] at 464:16-20.) Mr. Poetzscher has testified:

                                                     -5-
                               WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 7 of 11



 1

 2                    (Id. at 465:5-14.)
 3          C.     Both Waymo And Uber Perceived That They Were Competing For All Or
                   Most Of A Significant Market And That Perception Influenced Their
 4                 Behavior
 5          8)     Uber and Ottomotto have offered an expert opinion regarding the perceived growth
 6 of the self-driving industry in order to justify Uber’s high valuation of Ottomotto, a company that

 7 existed for less than two months at the time Uber was assessing its value and negotiating to

 8 acquire it. Their M&A expert, Dr. Michael Jacobs, opined that “dramatic growth is possible over

 9 the next ten to fifteen years” in the autonomous vehicle industry. (Ex. 1 [Jacobs Report], ¶ 27.)

10 He recounted various “[f]orecasts of the autonomous vehicle business,” enumerating a May 2014

11 estimate of $87 billion by 2030, an April 2015 estimate of $102 billion by 2030, a January 2016

12 estimate of $1.5 trillion by 2040, a July 2016 estimate of $41.7 billion by 2025, and a March 2017

13 estimate of $22 to $26 billion by 2025. (Id. ¶ 27.)

14          9)     According to Dr. Jacobs, “the perceived size of the potential market has grown over
15 time,” which motivated Uber to avoid being “left out” and to place great value on the opportunity

16 to acquire Ottomotto. (Id. ¶ 29.)

17          10)    The evidence at trial will show that the perceived size of the market opportunity
18 was an important consideration for Uber, and one that animated Uber’s conduct in many respects,

19 including vis-à-vis Waymo, its most significant rival in self-driving. Indeed, the evidence will

20 show that the perceived size of the market opportunity – combined with the common belief that

21 the market would play out as “winner take all” or “winner take most” – explains why Mr.

22 Kalanick was intent on accelerating Uber’s development of self-driving technology at all costs and

23 why at least some at Uber valued the acceleration of its development timeline at many millions of

24 dollars per day. (Ex. 10 [TX-299]; Ex. 11 [McClendon 8/1/17 Depo. Tr.] at 179:17-180:17

25 (explaining that Kalanick

26

27                                                        ).)
28          11)    The evidence at trial will how that Waymo also acted in light of the large market

                                                    -6-
                               WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 8 of 11



 1 opportunity. Waymo’s current Plan of Record document discusses the need to

 2                                        and                              ” (Ex. 12 [TX-1147], at 5). This
 3 strategy is in line with Waymo’s belief that the first company to achieve self-driving TaaS at scale

 4 was likely to win a majority of the market in any given region. (Ex. 2 [TX-1031] (noting that a

 5 “single player (in any region) will likely earn majority of profits in TaaS”); Ex. 3 [TX-1033]

 6 (discussing assumption that AV-based TaaS market is “most likely a winner take most”).

 7          D.         Uber understood that accelerating its LiDAR development would accelerate its
                       overall self-driving timeline.
 8
            12)        By 2016, Uber recognized that LiDAR technology specifically was a key driver of
 9
     its ability to succeed with self-driving technology. (Ex. 13 [TX-910]
10
                                 ); Ex. 14 [TX-171]
11

12
                  Ex. 15 [TX-678]
13
     (Ex. 16 [TX-367] (Kalanick:
14
            ).)
15
            13)        The evidence at trial will show that lasers were the “longest pole” with respect to
16
     Uber’s own self-driving technology development efforts. (Ex. 16 [TX-367] (discussing Mr.
17
     Levandowski,                                                                                         id.
18
     (discussing the                     As Mr. Kalanick has explained,                   refers to the
19
     hardest problem Uber had to solve:
20
                                       ” (Ex. 17 [Kalanick 7/27/17 Depo. Tr.] at 198:1-199:2.) Indeed,
21
     the evidence will show that Uber believed that
22
                                                                                            (Ex. 18 [TX-
23
     170] (discussing Levandowski’s potential value-add, John Bares wrote,
24

25
                        )
26
     III.   THE PROFFERED TESTIMONY AND EVIDENCE SHOULD BE ADMITTED
27
            A.         Evidence Of The Perceived Size Of The Market Opportunity For Self-Driving
28                     Is Admissible To Prove Uber’s Motive For Misappropriating Waymo’s Trade

                                                        -7-
                                    WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 9 of 11



 1                  Secrets
 2          As demonstrated above, by 2016, Uber had come to understand (i) the size of the potential
 3 market opportunity associated with self-driving technology and (ii) that, to capture the ”winner

 4 take all” or “winner take most” self-driving TaaS market, it needed to narrow the technical lead

 5 that Waymo had over Uber. This dual understanding motivated Uber’s                        ” when it
 6 came to self-driving, including its misappropriation of Waymo’s secrets. (Ex. 11 [McClendon

 7 8/1/17 Depo. Tr.] at 179:17-180:17.) Waymo should be permitted to explain to the jury

 8 exactly what Uber understood to be on the line at the time of the misappropriation. See LinkCo,

 9 Inc. v. Fujitsu, 232 F. Supp. 2d 182 n.9 (S.D.N.Y. 2002) (admitting sales projections “for the

10 limited purpose of explaining Fujitsu’s motive to engage in the alleged [trade secret

11 misappropriation]”). For this reason alone, Waymo should be able to elicit testimony regarding

12 the perceived size of the market opportunity for self-driving.

13          B.      Evidence Of The Perceived Size Of The Market Opportunity For Self-Driving
                    And Evidence Of Waymo’s Revenue And Profit Forecasts Are Admissible To
14                  Establish Trade Secret Status
15          In order to prevail on its trade secret misappropriation claim, Waymo must establish that
16 its asserted trade secrets derive actual or potential independent economic value from not being

17 generally known. MAI Sys. Corp. v. Peak Comp. Inc., 991 F.2d 511, 520-21 (9th Cir. 1993). The

18 “long-term lucrative potential” of a field is circumstantial evidence that “incremental

19 advancements” in that field derive economic value from not being known. Altavion, Inc. v.

20 Konica Minolta Sys. Lab. Inc., 226 Cal. App. 4th 26, 65 (2014) (upholding a finding of substantial

21 economic value based on evidence that “if successfully implemented, DST could be very lucrative

22 because of potential applications in many different industries” and testimony that “the technology

23 had the potential to earn vast sums on check scanning in the banking industry”). Here, Waymo’s

24 trade secrets are valuable in large part because of their specific development in the context of self-

25 driving technology. Waymo should be permitted to establish the “long-term lucrative potential”

26 of that technology in connection with meeting its burden of proving that its confidential technical

27 information is properly afforded trade secret status. For this reason as well, testimony regarding

28 the general perception of the market opportunity for self-driving and evidence of Waymo’s

                                                     -8-
                                WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 10 of 11



 1 specific assessment of that market opportunity (in the form of its projections) should be admitted

 2 at trial.

 3             C.     Evidence Of The Perceived Size Of The Market Opportunity For Self-Driving
                      And Evidence Of Waymo’s Revenue And Profit Forecasts Are Admissible As
 4                    Factors That Would Significantly Impact The Hypothetical Negotiation
 5             As demonstrated above, Uber’s own view is that both the perceived size of the market
 6 opportunity for self-driving and the valuation of Waymo as a self-driving enterprise inform

 7 the “transaction economics” at play in the self-driving industry in 2016. Uber makes use of this

 8 information to explain why it placed such a high value on the acquisition of Ottomotto. Waymo

 9 should be entitled to rely on the same information to explain why Uber would be willing to pay a

10 high royalty for the acquisition of trade secrets from Waymo in the parties’ hypothetical

11 negotiation.

12             Indeed, as outlined above, the evidence at trial will show that both Uber and Waymo
13 believed that the market opportunity for self-driving TaaS was on the order of at least many tens

14 of billions of dollars; that the market would be “winner take all” or “winner take most”; that time

15 to market would be critical (if not determinative of winners and losers); and that Waymo had a

16 two to five year technology lead on Uber, while Uber already had an established TaaS

17 business. Regardless of starting point (Uber’s valuation of accelerated development, Uber’s

18 valuation of Ottomotto, Waymo’s research and development costs, etc.), this specific constellation

19 of factors would drive up the royalty that Uber would pay (and Waymo would demand) for a

20 license to Waymo trade secrets related to the very technological area (LiDAR) that Uber

21 considered to be the                of its own development efforts. The evidence at trial will
22 show that the size of this winner-take-all (or most) market opportunity was front and center every

23 step of the way for Uber, and it would have been front and center for both Uber and

24 Waymo during their hypothetical negotiation. Accordingly, Waymo should be permitted to elicit

25 testimony regarding the parties’ perceptions of the market opportunity and should be permitted to

26 introduce documentary evidence of its projected revenues and forecasts.

27 IV.         CONCLUSION
28             For the foregoing reasons, the Court should allow Waymo to (i) elicit testimony from Uber

                                                      -9-
                                  WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
     Case 3:17-cv-00939-WHA Document 2532-4 Filed 01/26/18 Page 11 of 11



 1 and Waymo trial witnesses regarding the perceived size of the potential market for autonomous

 2 vehicles at the time of the misappropriation, and (ii) introduce into evidence the revenue and profit
 3 forecasts contained in Waymo’s baseline profit and loss statement.
 4
 5 DATED: January 26, 2018                      QUINN EMANUEL URQUHART & SULLIVAN,
                                                LLP
 6
                                                 By /s/ Charles K. Verhoeven
 7
                                                   Charles K. Verhoeven
 8                                                 Attorneys for WAYMO LLC

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    -10-
                                WAYMO’S OFFER OF PROOF REGARDING CERTAIN MARKET/FINANCIAL INFORMATION
